Case 1:05-cr-10050-.]DT Document 7 Filed 08/12/05 Page 1 of 2 Page|D 9

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

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UNITED STATES OF AMERICA i`atl‘ii

-vs- Case No. 1:05cr10050-01T

GLENN KEITH SNEAD

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING] PURSUANT TO
BAIL REFORM ACT
Upon mo|,ion of the Government, it is ()RDERED that a detention hearing is set for
pdit:{’€§dduh ig<\lqu§i” ila 300/pf at §!L)O{) m before United States Magistrate .Iudge
\.J \.J l
S. Thomas Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal

Building, l l l South Highland, Jackson, TN. Pending this hearing, the defendant shall be held in

custody by the United States Marshal and produced t`or the hearing

Date: AugustlQ,ZOO$ g,--'~_ ih f
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

]ii°not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion ofthe government, or up to five days upon motion ofthe defendantl l8 U.S.C. § 3142(f`)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1") are present. Subseccion (l ) sets forth
the grounds that may be asserted oniy by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion ofthe attorney for the government or upon thejudieia| officer‘s own motion, it"there is a serious risk that the
defendant (a) Will flee or (b) will obstruct or attempt to obstruetjustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness orjuror.

AO 470 (BISSJ Urder of Temporary Detenlion

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CR-10050 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

